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AO 91 (Rev. ll/l l) Criminal Complaint

 

UNITED STATES DISTRICT CoURT

 

 

 

for the
Middle District of Georgia RECE|VED
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United States of America )
V_ ) _" DE_L` 1 5 2017
Donald Sherman ) Case NO'
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)
Defendanl(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of December 14, 2017 in the county of MUSCOQ€€ in the
Midd|e District of Georgia , the defendant(s) violated:
Code Sectl`on Ojj‘”ense Description
18 U.S.C. Sect. 641 Theft of Government Property
18 U.S.C. Sect. 922(3) Un|awfu| Possession of a Si|encer/Suppressor

This criminal complaint is based on these facts:

SEE Attached affidavit

d Continued on the attached sheet.

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/ / C¢{m”ainant ’s signature

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Sworn to before me and signed in my presence.

Date; 12/15/2017 M
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City and state: \M\W g»\ / add /l/rc, /:a¢j // /.),` §€’j \ro¢/U'L

Printed name an/title

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AFFIDAVIT

Affiant, Scott Sengenberger, a Special Agent with the Federal Bureau of Investigation since June
2015, has investigated violations of Title 18, United States Code, Section 641 (Theft of
Government Property), and various violations of federal firearms law. I am presently assigned to
the Atlanta Field Office, Macon Resident Agency.

l make this affidavit in support of a criminal complaint. The affidavit is based on my training and
experience and on information which has been provided to me by other Special Agents of the
Federal Bureau of Investigation.

After being duly sworn, l affirm as follows:

1.

F acts Establishing Probable Cause
CWl

On or about November 30, 2017, FBI was contacted by the United States Army Criminal
Investigation Command (CID) regarding the alleged theft of government property by two
cooperating individuals Subsequent investigation revealed that both individuals had
knowingly sold stolen government property from Fort Benning, Georgia, to Donald Kirby
Sherman, owner of Tier l Gear, and Army/Navy Surplus Store, located at 4010 Victory
Drive, Columbus, GA, 31903.

Fort Benning Military Reservation is located within the special maritime and territorial
jurisdiction of the United States, on land acquired for the use of the United States, and
under the exclusive jurisdiction of the Columbus Division of the Middle District of
Georgia.

. The first cooperating individual (CWl) was interviewed by CID agents on November 30,

2017. CWl advised he/she began stealing items from Fort Benning some time in 2016, in
order to support his/her addiction to methamphetamine CWl devised a plan to steal
Operational Camouflage Pattern (OCP-multicam) uniforms from the Clothing Initial Issue
Point (CIIP), 3rd Infantry Division Road, Building 3010, Fort Benning, GA, and sell them
to an individual CWl met on the Facebook marketplace CWl broke into the CIIP on four
to six occasions, each time taking a 50 gallon trash bag filled with 20 to 25 complete OCP
uniforms. CWl also admitted to stealing approximately 15-20 OCP uniforms, and five
Advanced Combat Helmets (ACHs) from the Central Issues Facility (CIF), located at 9200
First Division Road, Building 9055, Fort Benning, GA. Each helmet was valued at
approximately $273.40, for a total estimated loss of $l,367. According to CID, each
complete uniform was valued between $80 and $lOO. The total loss amount for the
uniforms was estimated between $11,200 and $17,000.

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. On four to five occasions, CWl met this unknown individual at various locations in
Columbus, GA, and on two occasions in Phenix City, AL, to facilitate the sale of these
stolen items. CWl estimated he/ she was paid approximately $3,000 to $4,000 for all items.
CWl further advised he/she informed the unidentified individual by phone and text that all
of the items were stolen and not privately owned.

. CWl was later arrested by CID on drug related charges, and during this investigation, CID
executed a search of CWl ’s cell phone, which was issued by a military magistrate Based
upon this search, CID identified phone number (706) 566-7770, as the number associated
with the individual who purchased the stolen equipment from CWl. CID then discovered
through an online search, that this cellular phone number resolved back to Donald Kirby
Sherman, 260 Lee Road 746, Salem, Alabama, 36874, owner of Tier 1 Gear.

CWZ

. On or about November 30, 2017, CID was notified by Sgt. Robert Mixon, 4th Ranger
Training Battalion (RTB) of an alleged larceny of unit property. At the time, Mixon was
an armorer assigned to the RTB. Mixon indicated he had been recently approached by
Specialist Daynel Gordon, who stated that his roommate, CW2 (cooperating witness-Z),
attempted to sell him a “high dollar value item.” CW2 was also assigned as an assistant
armorer for the RTB, and worked under Mixon. Gordon inquired as to what the item was,
and CW2 advised it was a Trijicon Advanced Combat Optical Gunsight (ACOG) M150.
The approximate cost of this item to the U.S. Army was $1225. Based upon this
information, Mixon conducted a complete inventory of the 4th RTB arms room, and
discovered that one ACOG M150, serial number 732750, was missing. Also missing were
four Bushnell Elite 1500 Laser Range Finders and 913 magazines for the M4 rifle The
total calculated loss was over $10,000.

. CW2 was subsequently interviewed by CID on December 5, 2017, and admitted to taking
the ACOG M150 from the arms room and approximately 300 to 400 magazines CW2
removed the ACOG M150 from the arms room sometime during the first week of
November 2017, and took the magazines from the 4th RTB motor pool the last week of
October 2017 or the first week of November 2017. The magazines were new and had been
placed in seven white boxes.

. Sometime thereafter, CW2 took the items to Tier 1, where he met with the owner. CW2
did not know the owner’s name at the time, but described him as a white male, who spoke
with a deep voice, and was between 45 to 55 years of age. Further investigation has
determined that the owner of Tier 1 is Donald Kirby Sherman, a white male, who is 50
years of age Sherman paid CWZ $3.00 apiece for each magazine, and $400 for the ACOG,
totaling approximately $1300 to $1600. CW2 informed Sherman that all of the items were
“unaccounted for,” but Sherman did not seem to mind. At the conclusion of their

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transaction, Sherman informed CW2 that he was willing to purchase more ACOGS,
magazines and weapons parts, to include rifle rail systems

9. CW2 agreed to cooperate with this investigation, and placed a consensually recorded phone
call to Sherman on December 12, 2017, at (706) 566-7770. During the call, Sherman
agreed to purchase 18 to 20 ACOG scopes from CW2, along with approximately 300 M4
rifle magazines CW2 agreed to meet with Sherman on Thursday, December 14, 2017, at
Tier l Gear, in order for Sherman to purchase the purportedly stolen government
equipment from CW2.

10. On Thursday, December 14, 2017, Sherman and CW2 agreed to meet in a parking lot,
rather than the originally agreed upon location. Sherman purchased the allegedly stolen
items and was arrested at that point. During a subsequent search of Tier l, officers
recovered suspected stolen items, as well as a Smith Enterprises 7.62, unregistered
Suppressor (silencer), which was possessed by Sherman in violation of Title 18, United
States Code, Section 922(a).

ll. Based upon the above, Affiant believes probable cause exists that Donald Kirby Sherman
has purchased stolen United States property, in violation of Title 18, United States Code,
Section 641, and possessed an unregistered silencer, in violation of Title 18, United States
Code, Section 922 (a).

 

Scott/§engerib<ég€r

Special Agent, Federal Bureau of Investigation

Sworn to and subscribed before
me this l § day of December 2017.

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Marc T. Treadwel
United States District Judge

